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                           UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION

 UNITED STATES OF AMERICA,                 )           CR. 08-50079-01, -02
                                           )
             Plaintiff,                    )
                                           )              ORDER ON
    vs.                                    )             DEFENDANTS’
                                           )           MOTIONS TO SEVER
 JOHN GRAHAM, aka                          )
 JOHN BOY PATTON, and                      )
 VINE RICHARD MARSHALL, aka                )
 RICHARD VINE MARSHALL, aka                )
 DICK MARSHALL,                            )
                                           )
             Defendants.                   )

                                    INTRODUCTION

   Defendant John Graham has filed a motion seeking an order from the court

    severing his trial from that of co-defendant Vine Richard Marshall’s trial.

  [Docket 75]. Defendant Richard Marhshall has also filed a motion to sever his

  trial from that of Mr. Graham’s. [Docket No. 87]. The government resists these

    motions. The district court, the Honorable Lawrence Piersol, referred the

   motions to this court for determination pursuant to 28 U.S.C. § 636(b)(1)(A).

                                         FACTS

          The facts, insofar as they are pertinent to the pending motion, are as

 follows. Count one of the superseding indictment charges Mr. Graham and

 Mr. Marshall jointly with the unlawful killing and with aiding and abetting the
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 killing of Annie Mae Aquash with a firearm, asserting that both defendants are

 Indians and that Ms. Aquash is also an Indian, in violation of 18 U.S.C. §§ 2,

 1111, and 1153.

       Count two charges Mr. Graham alone with killing Annie Mae Aquash

 “willfully, deliberately, and maliciously, with premeditation and malice

 aforethought,” in violation of 18 U.S.C. §§ 2, 1111, and 1152. Count two alleges

 that Ms. Aquash is an Indian, but does not allege that Mr. Graham is an Indian.

       Count three alleges that Mr. Graham killed, and aided and abetted other

 Indians in killing Ms. Aquash, in violation of 18 U.S.C. §§ 2, 1111, and 1153.

 The Indians Mr. Graham is alleged to have aided and abetted in count three are

 Fritz Arlo Looking Cloud, Theda Rose Clarke, and co-defendant Mr. Marshall.

 Count three does not allege that Mr. Graham is an Indian. Count three is

 currently the subject of a motion to dismiss by Mr. Graham.

       The defendants are currently scheduled to be tried in a joint jury trial

 beginning February 24, 2009. The government’s theory of the case, as asserted

 by the defendants, is that Mr. Graham and Mr. Marshall acted on orders from

 decision-makers within the American Indian Movement (“AIM”), to murder

 Ms. Aquash due to the suspicion that she was a government informant working

 against AIM. The government alleges that Mr. Marshall provided the firearm

 and ammunition used to commit the murder and that Mr. Graham carried out

 the actual murder. Both defendants seek separate trials.


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                                    DISCUSSION

 A.    Severance Under Rule 14(a) Generally

       Rules 8(b) and 14 of the Federal Rules of Criminal Procedure address the

 propriety of joinder of defendants in a single indictment. If joinder of

 defendants is not proper under Rule 8(b), severance becomes mandatory. Even

 if severance is not mandated by Rule 8(b), the court has discretion to grant

 severance under Rule 14 if joinder of the defendants appears to prejudice a

 defendant or the government. United States v. Davis, 534 F.3d 903, 916 (8th

 Cir. 2008). However, once it is determined that defendants are properly joined

 under Rule 8(b), “[t]he presumption against severing properly joined cases

 [under Rule 14] is strong.” United States v. Ruiz, 412 F.3d 871, 886 (8th Cir.

 2005). The preference for joint trials is in order to give “the jury the best

 perspective on all of the evidence and therefore increase[ ] the likelihood of a

 correct outcome.” United States v. Flores, 362 F.3d 1030, 1039 (8th Cir. 2004)

 (quoting United States v. Darden, 70 F.3d 1507, 1528 (8th Cir. 1995)). In

 addition, courts recognize that joint trials conserve scarce time and resources.

 United States v. Hively, 437 F.3d 752, 765 (8th Cir. 2006). “Under Fed. R. Crim.

 P. 14(a), the issue of severance is entrusted to the sound discretion of the trial

 judge.” Id. at 765 (internal citation omitted).

       Mr. Graham concedes that he and Mr. Marshall are properly joined under

 Fed. R. Crim. P. 8(b) and does not seek severance pursuant to that rule.

 Mr. Marshall similarly raises no argument that joinder under Rule 8(b) is
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 improper in this case. Rather, the defendants’ motions seek severance on the

 basis of Fed. R. Crim. P. 14(a). A defendant who seeks severance under Rule 14

 must show “real prejudice.” Davis, 534 F.3d at 916. “Real prejudice” consists

 in showing (1) that the moving defendant’s defense “is irreconcilable with that of

 his co-defendant or (2) the jury will be unable to compartmentalize the evidence

 as it relates to the separate defendants.” Id. at 916-917 (quoting United States

 v. Mickelson, 378 F.3d 810, 817-818 (8th Cir. 2004)).

       “Severance is not required merely because evidence that is admissible

 only against some defendants may be damaging to others, . . .” Mickelson, 378

 F.3d at 818. “Nor is it enough for a defendant to claim, . . . that he needed a

 separate trial in order to call a co-defendant as a witness. He must show that it

 is likely his co-defendant actually would have testified and that this testimony

 would have been exculpatory.” Id. (citing United States v. Delpit, 94 F.3d 1134,

 1143-1144 (8th Cir. 1996)). “Generally, the risk that a joint trial will prejudice

 one or more of the defendants ‘is best cured by careful and thorough jury

 instructions.’ ” Davis, 534 F.3d at 916-917 (quoting Mickelson, 378 F.3d at 818;

 and citing Zafiro, 506 U.S. at 537).

       Mr. Graham raises three arguments in favor of severance under Rule 14:

 (1) that his confrontation rights under the Sixth Amendment will be violated by

 a joint trial because statements of co-defendant Richard Marshall which are

 inculpatory to both defendants will be admitted at trial and Mr. Marshall is not


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 expected to testify;1 (2) that evidence that would otherwise be inadmissible at

 Mr. Graham’s trial, i.e. Mr. Marshall’s inculpatory statements, would be

 admissible at a joint trial; and (3) that Mr. Graham and Mr. Marshall will

 present mutually exclusive or antagonistic defenses.

       Mr. Marshall argues that he should be granted a separate trial because

 (1) evidence that will be admissible against Mr. Graham in a joint trial would be

 inadmissible against Mr. Marshall in a separate trial; and (2) that Mr. Marshall

 will experience “spill-over” prejudice due to the fact that the government’s case

 against Mr. Graham is much stronger than the government’s case against

 Mr. Marshall. Each argument will be discussed in turn.

 B.    Severance Under Bruton

       1.    Supreme Court Cases

       The prow of Mr. Graham’s argument in favor of severance is that his

 confrontation rights will be violated by the admission into evidence of out-of-

 court statements by Mr. Marshall that inculpate Mr. Graham. Mr. Graham

 assumes that Mr. Marshall will not testify, an assumption that seems warranted

 under the current state of the pleadings in this case. See footnote 1, supra.




       1
         Mr. Marshall agrees that Mr. Graham’s right to confrontation of his
 accusers would be violated by a joint trial in which statements of Mr. Marshall
 are admitted which inculpate Mr. Graham. Implicit in this agreement by
 Mr. Marshall is a tacit admission that Mr. Marshall does not intend to testify at
 trial. Otherwise, Mr. Graham’s confrontation rights would not be implicated.
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       The United States Supreme Court established in Bruton v. United States,

 391 U.S. 123 (1968), that a defendant’s confrontation rights under the Sixth

 Amendment are violated by the admission of a non-testifying codefendant’s

 confession that implicates the defendant. Id. at 137.2 In Bruton, Bruton and a

 co-defendant, Evans, were tried together for armed postal robbery. Id. at 124-

 125. A confession by Evans inculpating both Evans and Bruton was admitted

 at the trial. Id. at 125-126. Evans never testified and the jury was instructed

 that it was not to consider Evans’ confession in determining whether Bruton

 was guilty. Id. Despite the limiting instruction, Bruton argued that the

 introduction of Evans’ confession violated his confrontation rights under the

 Sixth Amendment. Id. The Court agreed and reversed for a new trial. Id. at

 136-137.

       The Supreme Court declined to further extend Bruton in Richardson v.

 Marsh, 481 U.S. 200 (1987). In that case, the Court held that the

 Confrontation Clause is not violated by the admission of a nontestifying

 codefendant’s confession that was redacted to eliminate the defendant’s name

 and any other reference to the defendant’s existence. Id. at 211.




       2
        The pertinent portion of the Sixth Amendment reads as follows: “In all
 criminal prosecutions, the accused shall enjoy the right . . . to be confronted
 with the witnesses against him;” See U.S. Const. amend. VI. The Supreme
 Court has held that the right of confrontation includes the right to cross-
 examine witnesses. See Pointer v. Texas, 380 U.S. 400, 404, 406-407 (1965).
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        Marsh and a co-defendant, Williams, were tried together for murder and

 assault, over Marsh’s objection to a joint trial. Id. at 202. The victim of the

 assault testified at trial, identifying Marsh and Williams as the murderers and

 her assailants. Id. Williams had confessed after his arrest and his statement

 was also introduced at trial, with all reference to Marsh redacted. Id. at 203-

 204. Williams’ confession largely corroborated the victim’s testimony. Id.

 Williams did not testify at the trial and the district court instructed the jury that

 they were not to use Williams’ confession in any way against Marsh. Id. at 204.

 Marsh herself then testified and placed herself at the scene of the crime,

 testifying that she had no forewarning that Williams was going to commit any

 crime. Id. at 204. Marsh was convicted of two counts of felony murder. Id. at

 205.

        The Court began by noting that “a witness whose testimony is introduced

 at a joint trial is not considered to be a witness ‘against’ a defendant if the jury

 is instructed to consider that testimony only against a codefendant.” Id. at 207.

 The Court also acknowledged that the situation in Bruton was an exception to

 this general rule where the nontestifying codefendant’s confession expressly

 implicated the defendant. Id. at 208. Under these circumstances, the

 “powerfully incriminating” confession could not fail to infect the confrontation

 rights of the nonconfessing codefendant. Id.




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       The Court distinguished Bruton, however, from the facts in Marsh’s case

 because in Marsh’s case, the redacted confession did not implicate Marsh at all,

 but only became incriminating when linked with other admissible evidence

 introduced at trial, namely Marsh’s own testimony and that of the assault

 victim. Id. The fact that the confession itself did not incriminate Marsh,

 coupled with the court’s limiting instruction to the jury not to consider Williams’

 confession in any way as to Marsh, made this case different. Id. The Court

 held that “the Confrontation Clause is not violated by the admission of a

 nontestifying codefendant’s confession with a proper limiting instruction when,

 as here, the confession is redacted to eliminate not only the defendant’s name,

 but any reference to his or her existence.” Id. at 211.

       In a subsequent case, the Court had reason to refine its position as to

 Bruton and Richardson. See Gray v. Maryland, 523 U.S. 185 (1998). In Gray,

 Gray and a co-defendant, Bell, were indicted for murder and tried jointly. Id. at

 188. Bell’s confession was admitted at trial in a redacted version in which

 Gray’s name was removed and the word “deleted” or “deletion” was substituted.

 Id. at 188-189. After Bell’s confession was read into the record by a detective,

 the prosecutor asked, “after [Bell] gave you that information, you subsequently

 were able to arrest Mr. Kevin Gray; is that correct?” Id. The detective

 responded “yes.” Id. at 189. Other witnesses testified at trial indicating that

 both Bell and Gray were involved in the murder. Id. Bell never testified,


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 although Gray testified, denying any involvement. Id. The trial court instructed

 the jury that it should consider Bell’s confession only against Bell and not as

 any evidence against Gray. Id. Both defendants were convicted. Id. Gray

 argued that the admission of Bell’s confession violated his confrontation rights

 under Bruton. Id.

       The Court agreed. Id. at 197. Distinguishing Richardson, where the

 confession was redacted to remove all reference to Marsh and all indication that

 anyone other than the confessor and a third party had participated in the

 crime, the confession in Gray, even though it was redacted, clearly indicated the

 participation of another person, though that person remained unnamed. Id. at

 191-192. The Court stated that, “Redactions that simply replace a name with

 an obvious blank space or a word such as ‘deleted’ or a symbol or other

 similarly obvious indications of alteration, however, leave statements that,

 considered as a class, so closely resemble Bruton’s unredacted statements that,

 in our view, the law must require the same result.” Id. at 192.

       As an example, the Court examined the confession introduced at Gray’s

 trial: “Question: Who was in the group that beat [the victim]? Answer: Me,

 deleted, deleted, and a few other guys.” Id. at 196. Although this redaction of

 the codefendant’s statement created Bruton problems, the Court suggested an

 alternative redaction of the same statement that would not be problematic:

 “Question: Who was in the group that beat [the victim]? Answer: Me and a few


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 other guys.” Id. The goal is to edit the statement so that not only are all

 incriminating remarks of the nonconfessing codefendant removed, but to do so

 in a way so that the statement does not obviously appear to have been redacted.

 Id. (citing Richardson, 481 U.S. at 203).

       Although not dealing with the issue of severance, the United States

 Supreme Court decided Crawford v. Washington, 541 U.S. 36 (2004), after the

 Gray decision. The Crawford decision further interprets the Confrontation

 Clause, holding that “out-of-court statements by witnesses that are testimonial

 are barred, under the Confrontation Clause, unless witnesses are unavailable

 and defendants had prior opportunity to cross-examine witnesses, regardless of

 whether such statements are deemed reliable.” Crawford, 541 U.S. at 36.

       The Crawford decision addressed the issue of whether out-of-court

 hearsay statements made by an unavailable witness, rather than a co-

 defendant as in Bruton, were admissible at trial. Crawford, 541 U.S. 36. The

 facts of Crawford were as follows. Petitioner Michael Crawford stabbed a man

 who allegedly attempted to rape his wife, Sylvia Crawford. Id. at 38. At trial,

 Mrs. Crawford did not testify because of the state marital privilege, thereby

 making her an unavailable witness. Id. at 40. Under state law, a spouse’s out-

 of-court statements were admissible under a hearsay exception. Id. Thus, the

 state sought to introduce into evidence out-of-court, tape-recorded statements

 Mrs. Crawford made to the police describing the events leading up to the


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 assault and the assault itself. Id. Because of Mrs. Crawford’s involvement in

 the assault, the state relied upon the hearsay exception for statements against

 penal interest. Id.

       The trial court allowed Mrs. Crawford’s out-of-court statements to be

 played to the jury, relying on the rule in Ohio v. Roberts, 448 U.S. 56 (1980).

 Crawford, 541 U.S. at 40. In Roberts, statements made by an unavailable

 witness against a criminal defendant were admissible at trial if the statements

 bore “ ‘adequate indicia of reliability,’ ” that is, statements “must either fall

 within a ‘firmly rooted hearsay exception’ or bear ‘particularized guarantees of

 trustworthiness.’ ” Id. (quoting Roberts, 448 U.S. at 66). The trial court in

 Crawford admitted Mrs. Crawford’s out-of court statements on the latter

 ground. Crawford, 541 U.S. at 40. Mr. Crawford objected on the grounds that

 admitting these statements violated his “federal constitutional right to be

 confronted with the witnesses against him.” Id. (internal quotations omitted).

       On appeal, the Supreme Court rejected the reliability test articulated in

 Roberts, holding that “[w]here testimonial statements are at issue, the only

 indicium of reliability sufficient to satisfy constitutional demands is the one the

 Constitution actually prescribes: confrontation.” Id. at 68-69. The Crawford

 Court held that “out-of court statements by witnesses that are testimonial are

 barred, under the Confrontation Clause, unless witnesses are unavailable and

 defendants had prior opportunity to cross-examine witnesses, regardless of


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 whether such statements are deemed reliable by the court.” Id. at 36 (emphasis

 added).

       A key consideration in Crawford is whether the out-of-court statements

 are testimonial. The constitutional protections of the Confrontation Clause

 afforded to a defendant only apply when witnesses against him “ ‘bear

 testimony.’ ” Id. at 51. “ ‘Testimony,’ in turn is typically ‘[a] solemn declaration

 or affirmation made for the purpose of establishing or proving some fact.’ ” Id.

 (quoting 2 N. Webster, An American Dictionary of the English Language (1828)).

 Although the Court in Crawford did not provide an exhaustive list of statements

 that are deemed testimonial, it stated that “[w]hatever else the term covers, it

 applies at a minimum to prior testimony at a preliminary hearing, before a

 grand jury, or at a former trial; and to police interrogations.” Crawford, 541

 U.S. at 68. Although the Court did not comprehensively define “testimonial,” it

 stated that evidence is testimonial when “made under circumstances which

 would lead an objective witness reasonably to believe that the statements would

 be available for use at a later trial.” Id. at 51.

       The Supreme Court again interpreted the confrontation clause in Davis v.

 Washington, distinguishing between testimonial and nontestimonial statements

 in the context of police interrogations. Davis v. Washington, 547 U.S. 813, 817

 (2006). The Davis Court held as follows:

       Statements are nontestimonial when made in the course of police
       interrogation under circumstances objectively indicating that the

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       primary purpose of the interrogation is to enable police assistance
       to meet an ongoing emergency. They are testimonial when the
       circumstances objectively indicate that there is no such ongoing
       emergency, and that the primary purpose of the interrogation is to
       establish or prove past events potentially relevant to later
       prosecution.

 Id. at 822. The Davis Court made clear that most testimonial statements will

 involve formal statements, like sworn testimony in a prior judicial proceeding or

 formal deposition under oath. Id. at 825-826. The Court also stated that some

 statements are “clearly nontestimonial,” like statements made unwittingly to a

 government informant or statements from one prisoner to another. Id. at 825.

 See also United States v. Watson, 525 F.3d 583, 589 (7th Cir. 2008) (holding

 that statements made unwittingly to a confidential informant and recorded by

 the government are not “testimonial”) (citing United States v. Underwood, 446

 F.3d 1340, 1347-1348 (11th Cir. 2006); United States v. Hendricks, 395 F.3d

 173, 182-184 (3d Cir. 2005); United States v. Saget, 377 F.3d 223, 229-230 (2d

 Cir. 2004)).

       The Davis Court also distinguished between interrogations “solely directed

 at establishing the facts of a past crime, in order to identify (or provide evidence

 to convict) the perpetrator” and interrogations intended to “describe current

 circumstances requiring police assistance.” Davis, 547 U.S. at 826-827. The

 former were characterized by the Court as “testimonial,” while the latter were

 characterized as “nontestimonial.” Id.



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       Comparing the statement of Crawford’s wife in Crawford, with the 911

 caller in Davis, the Court distinguished them on three grounds: (1) the

 Crawford statement was describing past events some hours after the events had

 occurred while the Davis statement was describing events as they were actually

 happening; (2) the declarant in Davis was facing an ongoing emergency for

 which help was being sought and the wife in Crawford was not; and (3) the

 nature of what was asked and answered during the statement in Davis made

 clear that the elicited statements were necessary to resolve the present

 emergency, whereas the questions in Crawford were asked to learn what had

 happened in the past. Id. at 827.

       2.    Eighth Circuit Cases

       The Eighth Circuit has had several occasions to apply Bruton,

 Richardson, Gray, and Crawford. In United States v. Edwards, 159 F.3d 1117

 (8th Cir. 1998), cert. denied, 528 U.S. 825 (1999), five defendants were tried

 together for aiding and abetting an arson which resulted in the deaths of six

 firefighters. Id. at 1121-1122. During the seven years between the arson and

 the indictment of the defendants, all five defendants had made incriminating

 statements to some 59 other witnesses. Id. at 1124. None of the defendants

 testified at trial. Id. The district court admitted the incriminatory statements

 and addressed the Bruton problem by replacing inculpatory references to other

 co-defendants with neutral pronouns such as “we,” “they,” “someone,” and

 “others.” Id. The court instructed the jury that it was to consider each out-of-
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 court statement only against the person who made the statement and not

 against any of the four other co-defendants. Id. The Eighth Circuit held that

 this approach did not violate the defendants’ confrontation rights under Bruton.

 Id. at 1124-1128.

       The defendants argued that the use of the pronouns violated the rule

 announced in Gray as the jury could have understood the pronouns to refer to

 the defendants. Id. at 1125. The Eighth Circuit held that the district court’s

 approach complied with the rule announced in Gray because the statement in

 Gray used the word “deleted” and thus emphasized the fact that the statement

 had been redacted, while in Edwards, the use of the neutral pronouns did not

 draw attention to the redaction. Id. at 1126. Also, the court noted that the trial

 included a large cast of characters from the defendants’ neighborhood who were

 connected to the defendants in various ways and that some of the statements

 inculpated non-parties to the case. Id. Thus, the court held that these facts

 weakened any association the jury might have been wont to draw between the

 use of the pronouns and the guilt of any non-declarant defendant. Id. Finally,

 the court noted that the redaction favored by the Gray Court, “me and a few

 other guys” had the same effect as the redactions in Edwards where pronouns

 were used. Id.

       In United States v. Williams, 429 F.3d 767 (8th Cir. 2005), the Eighth

 Circuit considered the admission of a co-defendant’s confession in a joint trial


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 for conspiring to distribute marijuana and crack cocaine. Id. at 769-770, 772-

 775. The court stated that, “[i]n assessing whether a case falls within the

 Bruton rule as in Gray or outside it as in Marsh, the Supreme Court looks at

 whether the context is one in which the risk is too great that the jury will not or

 cannot follow the cautionary instruction to consider the statement solely

 against the declarant.” Id. at 773 (citing Gray, 523 U.S. at 190-191).

       In Williams’ case, the nondeclarant defendant’s name was mentioned

 more than forty times in the co-defendant’s statement. Id. The statement was

 redacted by replacing the nondeclarant’s name with the pronoun “someone”

 over forty times. Id. In this example, the court opined that the method of

 redaction of the statement “made it obvious that a name had been redacted.”

 Id. at 774. “The replacements were not seamlessly woven into the narrative as

 in [United States v.] Logan, [210 F.3d 820 (8th Cir. 2000) (en banc)], and the

 neutral pronoun ‘someone’ may have lost its anonymity by sheer repetition. It

 may well have been clear to the jury that the statement had obviously been

 redacted and that the ‘someone’ of the statement was” the nondeclarant co-

 defendant. Id.3 See also, United States v. Heppner, 519 F.3d 744, 751-752 (8th

 Cir. 2008) (rejecting Bruton argument where statement was redacted to remove

 nondeclarant’s name and any language that could be construed as a reference


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        The Williams court ultimately affirmed the defendant’s conviction
 despite the suggestion that his confrontation rights might have been violated
 because the error, if any, was deemed harmless. See Williams, 429 F.3d at
 774.
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 to him and the district court instructed the jury to consider the confession only

 against the declarant defendant).

       In an Eighth Circuit case interpreting Crawford, but not Bruton, the court

 further clarified the characteristics of testimonial statements. United States v.

 Bordeaux, 400 F.3d 548 (8th Cir. 2005). In Bordeaux, government officials

 referred a child victim of sexual abuse to a center for evaluation. Bordeaux, 400

 F.3d at 554. A forensic interviewer questioned the child even before she had

 been examined by a physician. Id. The interview was taped, and two copies

 were made, one of which was provided to the police. Id.

       The court found that the hearsay statements of the victim were

 testimonial because the interview was the equivalent of a police interrogation.

 Id. at 556. The court reasoned that “[a] police interrogation is formal (i.e., it

 comprises more than a series of offhand comments-it has the form of an

 interview), involves the government, and has a law enforcement purpose.” Id.

 The court stated that “the evidence requires the conclusion that the purpose [of

 the interview] was to collect information for law enforcement.” Id. “ That [the

 victim’s] statements may have also had a medical purpose does not change the

 fact that they were testimonial, because Crawford does not indicate, and logic

 does not dictate, that multi-purpose statements cannot be testimonial.” Id.

       The Eighth Circuit reached the opposite conclusion in another case also

 interpreting Crawford, but not Bruton. See United States v. Clemons, 461 F.3d


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 1057 (8th Cir. 2006). The court held in Clemons that statements made by a

 shooting victim in response to a police officer’s questions were nontestimonial

 because “[t]he circumstances, viewed objectively, indicate that the primary

 purpose of [the officer’s] questions was to enable him to assess the situation

 and to meet the needs of the victim.” Clemmons, 461 F.3d at 1060-1061 (citing

 Davis, 547 U.S. at 822). The Eighth Circuit has also held that casual remarks

 made to an acquaintance do not constitute a formal, testimonial statement and,

 thus, fall outside the protection of the confrontation clause under Crawford.

 See also United States v. Hyles, 521 F.3d 946, 959-960 (8th Cir. 2008) (holding

 Crawford inapplicable to statements made to defendant by one third party that

 defendant had hired to kill a witness); United States v. Lee, 374 F.3d 637, 645

 (8th Cir. 2004) (co-defendant’s confession to his mother was nontestimonial

 because statement was made over a year before the mother had any contact

 with law enforcement and was prompted when mother observed evidence of

 crime in co-defendant’s possession).

       In another case decided just four months ago, the Eighth Circuit

 considered whether two defendants’ Bruton rights were violated when the

 prosecutor, during closing argument, used a display that showed both

 defendants’ redacted statements side by side on a large screen and the

 prosecutor proceeded to point out the similarities between the two statements.

 United States v. Davis, 534 F.3d 903, 914-916 (8th Cir. 2008). Although the


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 defendants did not take issue with the method of redacting each of their

 statements nor with the district court’s limiting instructions to the jury about

 using each statement only against the declarant defendant, nevertheless they

 argued on appeal that the prosecutors use of the statements in closing in the

 manner in which he did invited the jury to use the statements improperly

 against the non-declarant defendants. Id. at 915. Because the defendants had

 not objected during the prosecutor’s closing argument, the Eighth Circuit would

 reverse only “under exceptional circumstances.” Id. at 916.

        Predictably, given the standard of review, the Eighth Circuit affirmed, but

 made a point of indicating that it did “not condone the manner in which the

 prosecutor utilized the previously undisclosed demonstrative aid, . . .”. Id. 916-

 917. In affirming, however, the court noted that neither statement referred to

 the other defendant or to any other person directly and, therefore, “the

 admission of the statements was not an obvious error under Richardson.” Id. at

 915.

        Finally, the Eighth Circuit has just had occasion to address the

 intersection between Bruton and Crawford in United States v. Spotted Elk, 548

 F.3d 641 (8th Cir. 2008). In Spotted Elk, five co-defendants, including Colin

 Spotted Elk and Geraldine Blue Bird, were tried together on a charge of

 conspiracy to distribute cocaine and other related charges. Id. at 646-647.

 Eleven other co-defendants did not proceed to trial, but rather entered guilty


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 pleas. Id. at 647, 647 n.2, and 646-650. At trial, evidence was introduced of

 an out-of-court statement of Blue Bird’s that implicated Spotted Elk. Id. at 662.

 A third co-defendant, Dawnee Frogg, who did not go to trial, testified that Blue

 Bird had made the statement to Frogg. Id. Although Frogg testified, Blue Bird

 did not. Id. Spotted Elk argued that the introduction of Blue Bird’s out-of-

 court statement implicating him violated his confrontation rights under Bruton.

 Id.

       The Eighth Circuit held that Crawford had further clarified the scope of

 the confrontation clause discussed in Bruton. Id. The court held that, after

 Crawford, “[i]t is now clear that the Confrontation Clause does not apply to non-

 testimonial statements by an out-of-court declarant.” Id. (citing Davis, 547 U.S.

 at 822; United States v. Singh, 494 F.3d 653, 658-659 (8th Cir. ), cert. denied,

 128 S. Ct. 528 (2007) (holding that co-conspirators’ statements in furtherance

 of the conspiracy were not testimonial under Crawford)). Because Blue Bird’s

 out-of-court statements were made to co-defendant Frogg, the court held that

 the statements were not testimonial and, hence, did not fall within the purview

 of the Sixth Amendment’s confrontation clause. Id.

       There is some question as to how to interpret the holding of the Eighth

 Circuit in Spotted Elk. On the one hand, the court’s decision might be

 interpreted sweepingly to mean that all statements made to persons other than




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 police are “nontestimonial.”4 However, this is contrary to the court’s holding in

 Bordeaux, in which the court concluded that statements made to a person other

 than the police were “testimonial.” Bordeaux, 400 F.3d at 556.

       Furthermore, a footnote by the Davis Court cautions against such a

 sweeping and undiscerning analysis. In that footnote, the Court stated that:

       Our holding refers to interrogations because, as explained below,
       the statements in the cases presently before us are the products of
       interrogations–which in some circumstances tend to generate
       testimonial responses. This is not to imply, however, that
       statements made in the absence of any interrogation are
       necessarily nontestimonial. The Framers were no more willing to
       exempt from cross-examination volunteered testimony or answers
       to open-ended questions than they were to exempt answers to
       detailed interrogation. . . . And of course even when interrogation
       exists, it is in the final analysis the declarant’s statements, not the
       interrogator’s questions, that the Confrontation Clause requires us
       to evaluate.

 Davis, 547 U.S. at 822 n.1 (emphasis supplied).

       Taken together, all of the above case law should be interpreted to mean

 that Bruton applies only when the out-of-court statement sought to be admitted



       4
        The Spotted Elk court had, previous to the discussion of the Bruton
 issue, embarked on an extended discussion of the admissibility of statements
 of co-conspirators under Fed. R. Evid. 801(d)(2)(E). Spotted Elk, No. 07-1914,
 2008 WL 4999125 at *15. The court found that the twenty challenged
 statements were properly admitted by the district court pursuant to Rule
 801(d)(2)(E). Id. Therefore, the truncated discussion on the Bruton issue may
 simply be an indication by the court that statements of co-conspirators that fit
 within the definitional exclusion from hearsay under Rule 801(d)(2)(E) are
 categorically nontestimonial under Crawford and Bruton. Id. at *28-30. See
 also United States v. Lee, 374 F.3d 637, 644 (8th Cir. 2004) (statements by a
 conconspirator in furtherance of the conspiracy are not testimonial in nature
 under Crawford).
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 is “testimonial” and the declarant will not be testifying. Out-of-court statements

 are “testimonial” when they are the product of a formal interview, the

 government was involved in obtaining the statement, and the government had a

 law enforcement purpose. Bordeaux, 400 F.3d at 556. As in Bordeaux, this

 may encompass persons who elicit statements from a targeted person at the

 behest of the government, even though the eliciter of the statement is not a

 government agent himself. Id. Statements are also testimonial when they are

 describing past events for the purpose of providing evidence to convict someone

 of a crime. Davis, 547 at 826-827. However, as indicated by the Davis Court, it

 does not include statements made unwittingly to confidential informants or

 fellow prisoners. Davis, 547 U.S. at 825. It now remains to apply Bruton,

 Crawford, and their progeny to the statements at issue in this case.

       3.    Application of the Law to the Statements Proffered in this Case

       Prior to ruling on the instant motion, the court directed the government to

 submit to the court in camera any out-of-court statements of either defendant

 that it intended to introduce at trial. See Fed. R. Crim. P. 14(b); Docket No. 77.

 The government submitted nine separate statements by Mr. Graham and

 Mr. Marshall. Reviewing those statements, they can be categorized into three

 general types: (1) statements made unwittingly to witnesses who were

 cooperating with the government; (2) statements to members of the media; and




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 (3) statements made directly to police or other clearly official government actors.

 Each type of statement will be analyzed separately.5

             a.     Statements unwittingly made to cooperating witnesses

       One category of statements at issue are statements unwittingly made by

 both defendants to cooperating government witnesses, two of which are known

 by the code names of “Maverick” and “Sierra.” The Davis Court characterized

 statements unwittingly made by a defendant to a government informant as

 “clearly nontestimonial.” Davis, 547 U.S. at 825. The Davis Court cited in

 support of this assertion the case of Bourjaily v. United States, 483 U.S. 171

 (1987). The Bourjaily case concerned the proper procedure for the admissibility

 of a co-conspirator’s statements in furtherance of the conspiracy under Fed. R.

 Evid. 801(d)(2). Id. at 173. The co-conspirator statement at issue was made by

 a co-defendant to an informant who was working for the FBI. Id. 173-174.6

       Since Crawford was decided, at least four courts of appeals have directly

 addressed the issue of whether a statement made by a defendant unwittingly to

 a government informant is “testimonial.” All four courts have held that such

 statements are not testimonial. See United States v. Watson, 525 F.3d 583, 589


       5
        The nine statements are being filed under seal concurrently with this
 opinion so as to facilitate appellate review of the decision made in this opinion
 should any party wish to pursue such review.
       6
        The petitioner in Bourjaily raised a Confrontation Clause argument
 which the Court addressed, but that issue was resolved under the old Ohio v.
 Roberts framework instead of Crawford, so that portion of the Bourjaily opinion
 is not helpful to the resolution of the issues in this case.
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 (7th Cir. 2008); United States v. Underwood, 446 F.3d 1340, 1347-1348 (11th

 Cir. 2006); United States v. Hendricks, 395 F.3d 173, 182-184 (3d Cir. 2005);

 United States v. Saget, 377 F.3d 223, 229-230 (2d Cir. 2004). The Eighth

 Circuit has apparently not yet addressed this precise issue.7

       The Third Circuit, in Hendricks, shed some light on its holding. Although

 the confidential informant clearly is acting on behalf of the government when he

 elicits the defendant’s statement and the evidence is clearly intended to be used

 for the prosecution of the defendant (as the court observed, obtaining evidence

 for use in prosecution is the raison d’etre for the informant’s actions), whether

 the statement is “testimonial” is to be judged from the standpoint of the

 declarant–here, the defendant–not from the standpoint of the informant.

 Hendricks, 395 F.3d at 182-183. Thus, although arguably the informant’s own

 statements within the conversation may be excluded as “testimonial” because he

 is aware that the statement has a formal purpose, the damaging admissions




       7
        In United States v. Rodriguez, 484 F.3d 1006 (8th Cir. 2007), Rodriguez
 argued on appeal that the admission at his trial of a cooperating witness’s
 account of a conversation she had had with Rodriguez, which implicated
 Rodriguez, violated his Confrontation Clause rights. Id. at 1013-1014. The
 court did not address whether Rodriguez’s statement to the cooperating
 witness or the cooperating witness’s own statement were “testimonial.” Id.
 Instead, the court held that the statement had not been introduced to prove
 the truth of the matter asserted and, therefore, the Confrontation Clause was
 not implicated. Id. Furthermore, the cooperating witness testified, thereby
 avoiding Confrontation Clause issues. Id.
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 made by the defendant may not be so excluded.8 Id. For the statement to be

 “testimonial,” the declarant himself must expect that the statement will be

 used as evidence in a later formal proceeding. Id. See also United States v.

 Udezor, 515 F.3d 260, 268-269 (4th Cir. 2008) (holding that whether an out-of-

 court statement is “testimonial” must be judged from the point of view of the

 declarant at the time the statement was made) (citing the following cases for the

 same proposition: United States v. Maher, 454 F.3d 13, 21 (1st Cir. 2006);

 United States v. Ellis, 460 F.3d 920, 926 (7th Cir. 2006); United States v.

 Summers, 414 F.3d 1287, 1302 (10th Cir. 2005); United States v. Hinton, 423

 F.3d 355, 360 (3d Cir. 2005); Saget, 377 F.3d at 228)).

       This court concludes that the Eighth Circuit would follow the four circuits

 which have addressed this issue thus far and hold that statements made

 unwittingly by a defendant to a confidential informant or, in this case, a

 cooperating witness, are not “testimonial” under Crawford. Judging from the

 point of view of Mr. Marshall and Mr. Graham, the defendant-declarants in this

 case had no expectation at the time they made these statements to cooperating

 witnesses that they were formal statements which might be used as evidence in

 a later proceeding. Accordingly, they do not trigger the protections of the



       8
       For an analysis of the admissibility of the informant’s statement in a
 conversation with the defendant, see United States v. McGee, 529 F.3d 691,
 697-698 (6th Cir. 2008) (police officer’s testimony containing a hearsay
 statement from the informant that “Zookie” was in fact the defendant, McGee,
 was barred by the Confrontation Clause under Crawford).
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 Confrontation Clause under Crawford or Bruton. Davis, 547 U.S. at 825;

 Spotted Elk, 548 F.3d at 662; Watson, 525 F.3d at 589.

             b.    Interviews with the media

       Two statements by Mr. Graham can be categorized as interviews with the

 media. On November 8, 2000, Mr. Graham made a recorded statement in an

 interview with “Fifth Estate,” and again on October 18, 2006, Mr. Graham made

 recorded statements to “Native Youth Movement.” The government breezily

 asserts that Mr. Graham’s statements to journalists are non-testimonial

 statements to which Confrontation Clause protections do not apply, but the

 government cites no authority which supports this factual variation on the

 Crawford analysis. Research by the court has not revealed any published

 decision in which a court has analyzed whether a statement made to a

 journalist is “testimonial” under Crawford.

       The two statements that Mr. Graham made in this category differ in the

 context in which they were made in this regard: the statement made in 2000

 was prior to the first indictment charging anyone with a crime in connection

 with Ms. Aquash’s death; the statement in 2006 was made after the 2003

 indictment was filed charging Mr. Graham and Looking Cloud with murder.

       As to the first statement, Crawford teaches that a statement must be a

 “solemn declaration or affirmation made for the purpose of establishing or

 proving some fact” in order to be considered “testimonial.” Crawford 541 U.S.

 at 51. Statements are testimonial where they are given under circumstances
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 that lead the declarant to believe that “the statements would be available for use

 at a later trial.” Id. at 51. The context of the statement given by Mr. Graham to

 the “Fifth Estate” as well as its timing leads the court to conclude that the

 statement was not testimonial.

       The “Fifth Estate” interview did not involve the government or a

 government actor and there was no apparent government purpose for the

 statement. Furthermore, the timing of the statement is informative. In 2000,

 the murder of Ms. Aquash was a quarter of a century old and no one had ever

 been charged with that crime. At the time he gave the statement, then,

 Mr. Graham or any reasonable person in his place would probably not have

 expected the statement to be used as evidence at a later trial.

       The 2006 statement is not so easily analyzed, however. In 2006, at the

 time Mr. Graham made his statement to “Native Youth Movement,” he had

 already been indicted along with Looking Cloud for the murder of Ms. Aquash.9

 Also, Mr. Graham knew that his statement was being recorded. Thus, the

 possibility that his statement might be used as evidence at a later trial against

 him had to have been very real to Mr. Graham at the time he was making the

 statement.

       The 2006 statement lacks, however, any government purpose,

 government agent, or government involvement. Bordeaux, 400 F.3d at 556.


       9
       Mr. Graham was in Canada at the time, resisting the efforts of the
 United States to extradite him in order to try him on the murder charge.
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 The court notes that nothing in Crawford or Davis requires that a statement

 involve the government in order to be “testimonial.” See Davis, 547 U.S. at 825-

 826; Crawford, 541 U.S. at 51-68. The Davis Court focused on statements that

 were “formal” in the sense that they were not conversational and statements

 that focused on establishing past facts as evidence of a crime as opposed to

 describing present circumstances. Davis, 547 U.S. at 825-826. In fact, the

 Davis Court seemed at pains to hold open the possibility of a statement

 nevertheless being considered “testimonial” in the absence of government

 questioning. Id. at 822 n.1.

       However, the Bordeaux case in the Eighth Circuit emphasized the fact

 that although the person to whom the statement was being made was not a

 government actor, that person was nevertheless knowingly furthering a

 government investigative purpose. Bordeaux, 400 F.3d at 556. Regardless of

 whether either the “Fifth Estate” statement or the “Native Youth Movement”

 statement involved a government purpose, the court concludes ultimately that

 Bruton is not implicated by these statements as neither statement by

 Mr. Graham inculpates Mr. Marshall in any way. Graham neither refers to

 Marshall directly, nor refers to his existence in the involvement in the murder of

 Ms. Aquash. For these reasons, the court denies the motions to sever based on

 this category of statements.




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              c.    Grand jury testimony and law enforcement interrogation

       The last category of statements concerned in this case are Mr. Marshall’s

 testimony before the grand jury and statements given by both defendants to

 Robert Ecoffey, a law enforcement officer, at different times and locations.

 Under Crawford and its progeny, these are clearly “testimonial” statements

 which trigger the protections of the confrontation clause. Crawford, 541 U.S. at

 68.

       Although Mr. Graham’s statement to Mr. Ecoffey is “testimonial,” it does

 not implicate Mr. Marshall. Mr. Marshall is not mentioned by name, nor is his

 participation suggested in any way. The statement makes reference to dropping

 Ms. Aquash off at a “safe house,” but this house is never identified as

 Mr. Marshall’s home, either by name, location, or description. The evidence

 appears to be that, although Ms. Aquash might have visited Mr. Marshall’s

 home, she did not stay there, so Graham’s statement would not have indicated

 that he had dropped Aquash off at Marshall’s home. But even if the “safe

 house” mentioned by Mr. Graham in his statement can be linked to

 Mr. Marshall’s home by referring to other evidence, that does not create a

 Bruton problem. See Richardson, 481 U.S. at 208-211 (an out-of-court

 statement that does not implicate the non-declarant co-defendant, but which

 becomes incriminating when linked with other admissible evidence introduced

 at trial, does not violate Bruton).


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       Mr. Marshall’s statement to Mr. Ecoffey is also “testimonial.” It does not

 name Mr. Graham, but indicates that late one night a car load of people showed

 up at Marshall’s house. The people included Theda Clark and Ms. Aquash and

 “two young guys” who Marshall could not or did not name. Even when Ecoffey

 asked Marshall if the names “Arlo Looking Cloud” and “John Boy Graham”

 “rang a bell,” Marshall still said he could not remember the names of the “two

 young guys.” Although this statement may pose a Bruton problem if introduced

 as it is now written, it can easily be redacted to make sure that it is not

 interpreted by the jury to refer to Graham. For example, if Marshall’s statement

 is changed to state that Clark, Aquash, and “some other people” or “others” who

 Marshall could not name came to his house, the jury could not reasonably

 interpret Marshall’s statement to inculpate Graham. This is particularly true

 here where in all likelihood there will be a whole host of other actors discussed

 at the trial. See Edwards, 159 F.3d at 1125-1126 (replacing nondeclarant

 defendant’s name with neutral pronouns eliminated Bruton problem and did

 not run afoul of the Gray decision because the evidence at trial included

 information about a number of actors from defendants’ neighborhood in

 addition to information about the defendants themselves).

       Mr. Marshall’s grand jury testimony is also “testimonial,” but--as when

 Marshall spoke to Ecoffey–Marshall never named Mr. Graham in his testimony.

 However, Marshall’s responses, taken together with the prosecutor’s questions,


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 probably fairly squarely implicate Mr. Graham. The question becomes, then,

 whether Mr. Marshall’s testimony can be redacted so as to remove all reference

 to Mr. Graham or even Mr. Graham’s existence. The court is confident that,

 with the guidance provided by the case law discussed above, Mr. Marshall’s

 grand jury testimony can be redacted in such a manner as to remove all

 reference to Mr. Graham and to his existence. The majority of the redaction in

 this case will be redacting the prosecutor’s question, rather than Marshall’s

 answer. A properly redacted statement, as well as a contemporaneous limiting

 instruction from the district court telling the jury to consider Mr. Marshall’s

 testimony only as against Mr. Marshall, will serve to address any Bruton

 problems inherent in Mr. Marshall’s grand jury testimony.

       The court also addresses one final statement not submitted to the court

 by the government, but instead submitted to the court by Mr. Marshall. It is a

 “testimonial” statement of Mr. Ecoffey in an interview with Mr. Looking Cloud

 after Looking Cloud had been indicted by the grand jury for Ms. Aquash’s

 murder. In that interview, Ecoffey tries to get Looking Cloud to admit to having

 been with Theda Clark, Mr. Graham, and Ms. Aquash at Dick and Cleo

 Marshall’s house. Looking Cloud denies having stopped at Marshall’s house.

 In the face of Looking Cloud’s denial, Ecoffey states, “[c]ause I know–I know for

 a fact that you stopped there, cause both Dick and Cleo–are telling me that you,

 [Graham], and Theda stopped there, and that you had Anna Mae, . . .”


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        Of course, having just reviewed Marshall’s statement to Ecoffey, Marshall

 never told Ecoffey that Looking Cloud or Graham were at Marshall’s house.

 Despite Ecoffey’s persistent attempts, Marshall would not or could not identify

 either Looking Cloud or Marshall among those who came to his house–a story

 he repeated when he appeared in front of the grand jury.

        One may wonder, then, if Marshall never told Ecoffey that Graham was at

 his house, why would Marshall himself wish to introduce Ecoffey’s erroneous

 statement to the contrary during the Looking Cloud interview? The answer is

 unclear. Nevertheless, Marshall asserts that Ecoffey’s erroneous statement

 during the Looking Cloud interview directly contradicts the exculpatory

 statements Mr. Graham made to Ecoffey. An erroneous statement by a third

 party about a co-defendant’s out-of-court statement does not create a Bruton

 conflict. However, in an abundance of caution, the court holds that the

 Ecoffey–Looking Cloud interview, if it is to be introduced as evidence at trial,

 must be edited to redact Ecoffey’s erroneous attribution of the statement to

 Marshall.10 For example, the statement can be redacted to read, “[c]ause I

 know–I know for a fact that you stopped there, cause Cleo–is telling me that

 you. . .”



        10
         In his interview with Looking Cloud, Ecoffey may have been referring to
 what Marshall told cooperating witnesses, which differed from what Marshall
 told Ecoffey directly. However, the court has already determined that
 Marshall’s statements to cooperating witnesses are not “testimonial” and, thus,
 do not raise a Bruton problem.
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        In order that the district court may timely review the efficacy of the

 redacted versions of these statements, the court will require any party wishing

 to introduce one of these testimonial statements at trial to submit the redacted

 version of the statement to the district court a minimum of 15 days before the

 start of trial.

        Finally, the court notes that merely because the court has reached the

 conclusion that the statements at issue in this case are nontestimonial, or if

 testimonial, are capable of redaction so as to eliminate a Bruton problem, does

 not end the inquiry as to their admissibility. It simply removes one basis for

 objecting to the admission of the statements, that basis being the Confrontation

 Clause of the Sixth Amendment. The proponent of any statement must still be

 prepared to meet objections to admissibility of these statements on other

 grounds.

               d.   Cautionary Note

        Even where out-of-court statements are properly redacted and the court

 properly instructs the jury not to consider the statement against the non-

 declarant co-defendant, the prosecutor can still create Bruton error by

 emphasizing or implying that the statement incriminates the non-declarant

 defendant or otherwise linking the non-declarant defendant to the out-of-court

 statement. See Gray, 523 U.S. at 193-194; Richardson, 481 U.S. at 211; Davis,

 534 F.3d at 915 (citing United States v. Long, 900 F.2d 1270, 1280 (8th Cir.

 1990)). This is the have-your-cake-and-eat-it-too scenario whereby the
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 government submits a redacted statement that complies with Bruton, but then

 cannot resist attempting to use the redacted evidence to tie in the non-declarant

 co-defendant anyway. See e.g. Gray, 523 U.S. at 188-189 (after introducing

 redacted statement of Bell from which Gray’s name had been deleted,

 prosecutor then asked the detective if Bell’s statement enabled the detective to

 arrest Gray); Davis, 534 F.3d 915-917 (holding up two redacted statements

 side-by-side during closing argument and drawing attention to their

 similarities).

       Such actions create reversible error. Id. In such a case, the district court

 may still have to examine the Bruton issue at the close of the case if the

 prosecution raises this issue through its conduct at the trial, despite the

 submission of redacted statements to the jury and the court’s limiting

 instructions to the jury. Id.

 C.    Severance Due to Other Prejudice

       Aside from the Bruton issue, Mr. Graham seeks severance because he

 alleges that evidence would be admitted at a joint trial that would not be

 admissible in a trial of Mr. Graham alone. However, the only evidence

 discussed by Mr. Graham are Mr. Marshall’s inculpatory statements, already

 discussed above. This argument raises no new specter of prejudice other than

 that dispensed with above.

       The only new argument presented by Mr. Graham is that Mr. Marshall’s

 out of court statements do not fit within the definitional exclusion from hearsay
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 for statements of coconspirators. Whether Mr. Marshall’s statements fit within

 the definitional exclusion from hearsay found at Fed. R. Evid. 801(d)(2)(E) is a

 matter that must be raised as a motion in limine prior to trial, or by objection at

 trial. It is not concerned with whether to grant severance other than through

 the confrontation clause issue already discussed.11

       Mr. Graham and Mr. Marshall both argue that a joint trial will be

 prejudicial because Mr. Graham and Mr. Marshall will be presenting

 incompatible defenses. Specifically, they allege that Mr. Marshall’s defense will

 be that Marshall was not aware of any plan to kill Ms. Aquash at the time

 Marshall met with Graham, Clark and Looking Cloud and, moreover, that he

 did not provide the group with any assistance in carrying out the murder plan.

 Mr. Graham, on the other hand, intends to defend by denying that any meeting

 ever took place that involved Mr. Graham in attendance. Thus, according to the

 defendants, the jury would have to reject Marshall’s defense in order to believe

 Graham’s defense and vice versa.

       Once joint trials are determined to be proper under Rule 8, as discussed

 above, the burden to demonstrate prejudice sufficient to warrant severance is a

 heavy one. Flores, 362 F.3d at 1039-1040. The movant must demonstrate

 severe or compelling prejudice. Id. at 1039 (citing United States v. Pherigo, 327



       11
         In any case, whether Mr. Marshall’s statement is admissible is not
 determined alone by the applicability of Rule 801(d)(2)(E). There are other
 exceptions to the hearsay rule which might very well come into play.
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 F.3d 690, 693 (8th Cir.), cert. denied, 539 U.S. 969 (2003)). “ ‘The mere fact that

 one defendant tries to shift blame to another defendant does not mandate

 separate trials,’ . . . as a co-defendant frequently attempts to ‘ “ ‘point the finger’

 to shift the blame, or to save himself at the expense of the other.” ’ ” Flores, 362

 F.3d at 1039-1040 (quoting United States v. Basile, 109 F.3d 1304-1309-1310

 (8th Cir. 1997) (quoting United States v. Delpit, 94 F.3d 1134, 1143 (8th Cir.

 1996)); United States v. Mason, 982 F.2d 325, 328 (8th Cir. 1993) (quoting

 United States v. Johnson, 944, F.2d 396, 403 (8th Cir. 1991))). Just because a

 defendant’s chances for acquittal are better in a separate trial is insufficient

 reason to justify severance of otherwise properly joined defendants. Flores, 362

 F.3d at 1040 (citing Delpit, 94 F.3d at 1143).

       There is no reason to believe that Mr. Graham and Mr. Marshall’s

 defenses are mutually antagonistic. The jury may well conclude that the

 meeting, if it did occur, did not include Mr. Graham. Furthermore, the jury

 may conclude, without prejudice to Mr. Graham, that Mr. Marshall did not

 provide any assistance toward the murder of Ms. Aquash, whether the meeting

 took place or not. And Mr. Marshall’s defense actually helps Mr. Graham in

 this sense: if the jury believes that the meeting took place, but that

 Mr. Marshall was not aware of any plan to murder Ms. Aquash, as he is

 apparently going to assert, then it stands to reason that the jury would

 conclude that no discussion of murdering Ms. Aquash was engaged in by


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 anyone at the meeting. Such a conclusion on the part of the jury would

 necessarily include a conclusion that Mr. Graham did not discuss murdering

 Ms. Aquash during the meeting either. See Hood v. Helling, 141 F.3d 892, 896

 (8th Cir. 1997) (mutually antagonistic defenses exist only where, in order to

 believe the core of one defendant’s defense, the jury must necessarily disbelieve

 the core of the other defendant’s defense).

       Even if Graham and Marshall’s defenses are mutually antagonistic,

 Mr. Graham is not automatically entitled to severance. Flores, 362 F.3d at

 1040. Mr. Graham still has to show a “serious risk that a joint trial would

 compromise a specific trial right of one of the defendants, or prevent the jury

 from making a reliable judgment about guilt or innocence.” Id. (quoting Zafiro,

 506 U.S. at 539). This requires a showing that “evidence that would be

 inadmissible against one defendant if he were tried alone is admitted against his

 co-defendant, when many defendants are tried in a complex case with ‘markedly

 different degrees’ of culpability, . . . when a joint trial denies a defendant

 exculpatory evidence that would be available if he was tried alone. . . . [or] if

 there is a danger that the jury will unjustifiably infer that [the conflict in

 defenses] alone demonstrates that both are guilty.” ’ ” Flores, at 1040 (quoting

 Zafiro, 506 U.S. at 539; Basile, 109 F.3d at 1310 (quoting Delpit, 94 F.3d at

 1143) (emphasis in Delpit)). In the final analysis, the court must assess

 whether “the jury will associate the guilt of one defendant to another defendant


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 or will be confused.” Flores, 362 F.3d at 1041 (quoting United States v. Andrus,

 775 F.2d 825, 849 (7th Cir. 1985)).

       In Basile, the court held that, even assuming the defendants’ defenses

 were “mutally antagonistic,” nevertheless the defendants had not shown the

 kind of severe or compelling prejudice necessary to justify severance because

 the defendants could not show that each of their defenses was “irreconcilable

 with that of the co-defendant or that the jury was unable to compartmentalize

 the evidence.” Basile, 109 F.3d at 1310. This was true even though one

 defendant’s theory of the case was that a third party had stolen a car and killed

 the victim, while the other defendant admitted to stealing the car, but denied

 killing the victim. Id. at 1309.

       Mr. Marshall raises the separate argument that evidence of the American

 Indian Movement (“AIM”), in particular association with that movement and acts

 of violence perpetrated by that movement, would be admissible against

 Mr. Graham, but not admissible against Mr. Marshall. Therefore, Mr. Marshall

 argues that the prospect of AIM evidence being admitted at a joint trial will

 prejudice him.

       Evidence of AIM activities and associations was introduced at the trial of

 co-defendant Arlo Looking Cloud, an evidentiary issue that was raised in

 Looking Cloud’s direct appeal to the Eighth Circuit. See United States v.

 Looking Cloud, 419 F.3d 781, 785-787 (8th Cir. 2005). Much of the AIM


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 evidence at Looking Cloud’s trial was admitted without any objection by Looking

 Cloud. Id. Accordingly, much of the admission of AIM evidence was reviewed

 on appeal on a plain-error standard of review. Id. The Eighth Circuit’s decision

 that the admission of such evidence was not plain error, or an abuse of

 discretion as to that evidence which Looking Cloud did object to, does not

 mandate the admission of such evidence in the Graham-Marshall trial. Id.

 Contrary to Mr. Marshall’s assertion otherwise, whether AIM evidence will be

 admitted at the Graham-Marshall trial is a decision still committed to the

 district court’s discretion, and is not a foregone conclusion.

       Furthermore, Mr. Marshall never explains why evidence pertaining to AIM

 would be admissible against Mr. Graham and not against himself. In holding

 that it was not plain error or an abuse of discretion to admit the AIM evidence

 at Looking Cloud’s trial, the Eighth Circuit held that evidence of a defendant’s

 affiliation with a movement and the actions of the movement are relevant to

 show motive and opportunity. Id. If AIM evidence would be admissible to prove

 Mr. Graham’s motive and opportunity, it would seem to be similarly admissible

 to prove Mr. Marshall’s motive and opportunity.12 Mr. Marshall has not made

 out a case for severance on the basis of his argument regarding AIM evidence.




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         It is unclear whether Mr. Marshall was a “member” of AIM in any
 formal sense, but in his own words in his statements he certainly self-identified
 as an AIM sympathizer who attended many AIM rallies and events.
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       Mr. Marshall also argues that the government’s case against him is not

 strong and, accordingly, he will be subject to spill-over prejudice by reason of

 being tried with Mr. Graham, who faces a stronger case against him. In

 particular, Mr. Marshall points to evidence under Fed. R. Evid. 404(b) that will

 be admissible against Mr. Graham and would not be admissible in a trial of

 Mr. Marshall alone. Mr. Marshall’s characterization of the government’s case

 against him as “marginal at best,” is predicated on the fact that the

 government’s case against Marshall rests “almost totally on the testimony of

 Fritz Arlo Looking Cloud.”

       Again, Mr. Marshall does not explain why the court should conclude that

 the government’s case against him is “marginal” simply because it is based on

 the eye-witness testimony of a person who has been convicted of participating

 in the same crime with which Mr. Marshall is charged. However, assuming that

 the degree of culpability, or the strength of the government’s case, is indeed

 disparate as between Graham and Marshall, that fact alone does not warrant

 severance, particularly when both defendants are charged with participating in

 the same criminal act. Hively, 437 F.3d at 765 (stating that, “[s]everance is

 never warranted simply because the evidence against one defendant is more

 damaging than that against another, . . .”) (citing United States v. Pecina, 956

 F.2d 186, 188 (8th Cir. 1992)). Instead, the defendant seeking severance must




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 show that the jury cannot reasonably be expected to compartmentalize the

 evidence. Id.

       In Hively, two lawyers who were partners in the same law firm were tried

 together. Id. at 765-766. Unsavory evidence of extortion was admitted at trial

 as to one of the defendants, but that evidence was not applicable to the

 defendant who had sought severance. Id. On appeal, the Eighth Circuit

 affirmed the district court’s decision to try the defendants together, noting that

 no abuse of discretion had occurred. Id. at 766.

       In United States v. Pecina, a defendant in a drug conspiracy case argued

 that he should be tried separately because the most of the evidence pertained to

 his co-defendant and not to him. United States v. Pecina, 956 F.2d 186, 188

 (8th Cir. 1992). The Eighth Circuit affirmed the district court’s decision to hold

 a joint trial, noting that “[d]isparity in the weight of the evidence as between the

 two parties does not entitle one to severance.” Id. (citing United States v.

 Singer, 732 F.2d 631, 635 (8th Cir. 1984)).

       In Delpit, seven defendants were tried together on, inter alia, drug

 conspiracy charges, which did not apply as to one defendant, and a murder-for-

 hire charge that did not apply to two of the defendants. Delpit, 94 F.3d at

 1142-1143. The court held that trial of the two defendants who were not

 involved in the murder-for-hire scheme along with the defendants who were

 involved in the scheme was not an abuse of discretion. Id. The court observed


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 that, “[i]t doesn’t matter that Larry Thomas and Jai Jones had nothing to do

 with the murder-for-hire plot, or that Delpit was not indicted for the drug

 conspiracy. . . . when violence is part of the conspiracy’s modus operandi,

 ‘charges stemming from that violence are properly joined with the conspiracy

 charges, even if not all members of the conspiracy participated in the violence.’”

 Id. at 1143. The Delpit court specifically rejected the argument of one self-

 described “minor player” defendant that he was prejudiced by the “spillover

 taint of the murder-for-hire charges” which did not pertain to him. Id.

       Here, the impetus for a joint trial is even more weighty than in a drug

 conspiracy case. In a drug conspiracy case, the co-defendants may be held to

 answer for wide-ranging, often unrelated acts of the conspiracy as to which a

 particular member of the conspiracy may not even have been aware. Instead, in

 this case, Mr. Graham and Mr. Marshall are charged with committing or aiding

 and abetting in the commission of the same crime: the murder of Annie Mae

 Aquash.

       Neither defendant has alleged enough, without more, to demonstrate the

 kind of “severe” or “compelling” prejudice necessary to warrant severance under

 Rule 14(a). Specifically, the court concludes that the two defendants’ defenses

 are not mutually antagonistic and that there is no basis to believe that the jury

 cannot or will not compartmentalize the evidence against each defendant or that




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 the jury will become confused. Accordingly, the court denies the motion on

 grounds of inadmissible evidence or incompatible defenses.

                                    CONCLUSION

       Based on the foregoing discussion, it is hereby

       ORDERED that John Graham’s motion for separate trials [Docket No. 75],

 is denied. It is further

       ORDERED that Richard Marshall’s motion for separate trials [Docket No.

 87] is denied. It is further

       ORDERED that any party wishing to introduce at trial a testimonial out-

 of-court statement of either defendant that inculpates the other defendant,

 whether the statement is in the form of a writing, an audio recording, or a video

 recording, shall redact such statement to eliminate all reference to the other

 defendant and to his existence in accordance with this opinion and shall submit

 its proposed redacted statement to the district court for review no later than 15

 working days prior to the start of trial in this case.

                            NOTICE OF RIGHT TO APPEAL

       Pursuant to 28 U.S.C. § 636(b)(1)(A), any party may seek reconsideration

 of this order before the district court upon a showing that the order is clearly

 erroneous or contrary to law. The parties have ten (10) days after service of this

 order to file written objections pursuant to 28 U.S.C. § 636(b)(1), unless an

 extension of time for good cause is obtained. See Fed. R. Crim. P. 58(g)(2).


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 Failure to file timely objections will result in the waiver of the right to appeal

 questions of fact. Objections must be timely and specific in order to require

 review by the district court.

       Dated December 27, 2008.

                                 BY THE COURT:


                                 /s/   Veronica L. Duffy
                                 VERONICA L. DUFFY
                                 UNITED STATES MAGISTRATE JUDGE




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